

People v Daniels (2021 NY Slip Op 05830)





People v Daniels


2021 NY Slip Op 05830


Decided on October 26, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 26, 2021

Before: Kern, J.P., Oing, Singh, Mendez, Higgitt, JJ. 


Ind. No. 505/15 Appeal No. 14464 Case No. 2017-248 

[*1]The People of the State of New York, Respondent,
vRoy Daniels, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Whitney Elliott of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Karl Z. Deuble of counsel), for respondent.



Judgment, Supreme Court, New York County (Bonnie G. Wittner, J.), rendered February 25, 2016, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the second degree, and sentencing him, as a second felony offender, to a term of five years, unanimously affirmed.
Defendant made a valid waiver of his right to appeal, which forecloses review of his suppression claims (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US &amp;mdash, 140 S Ct 2634 [2020]; People v Bryant, 28 NY3d 1094, 1096 [2016]). The plea court separated the right to appeal from the trial rights waived by a guilty plea. The oral colloquy, taken together with a detailed written waiver, sufficiently explained that the waiver was comprehensive (see People v Kemp, 94 NY2d 831, 833 [1999]), and the explanation was not misleading. Defendant also confirmed on the record that he had discussed the waiver with his attorney (see Thomas, 34 NY3d at 560).
Regardless of whether defendant made a valid waiver of his right to appeal, we find that the court correctly concluded that the search of defendant's backpack contemporaneously with his arrest was justified by exigent circumstances (see People v Velez, 154 AD3d 527 [1st Dept 2017], lv denied 30 NY3d 1109 [2018]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 26, 2021








